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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:16CR102
                                             )
       vs.                                   )
                                             )
SERGIO IRIBE-PARRA,                          )                  ORDER
                                             )
                     Defendant..             )


       This matter is before the court on defendant’s unopposed Motion to Continue Trial
[131]. Counsel is newly appointed to represent the defendant and needs additional time
to investigate the matter and confer with his client. Defendant shall comply with NECrimR
12.1(a). For good cause shown,

       IT IS ORDERED that the Motion to Continue Trial [131] is granted as follows:

       1. The jury trial now set for January 3, 2017 is continued to March 7, 2017.

       2. The defendant shall file the affidavit required by paragraph 9 of the progression
order and NE.CrimR 12.1(a) forthwith.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and March 7, 2017, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act.
Failure to grant a continuance would deny counsel the reasonable time necessary for
effective preparation, taking into account the exercise of due diligence. 18 U.S.C. §
3161(h)(7)(A) & (B)(iv).

       DATED December 29, 2016.

                                   BY THE COURT:

                                   s/ F.A. Gossett, III
                                   United States Magistrate Judge
